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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 ABBOTT LABORATORIES,                           )
                                                )
                Plaintiff,                      )
                                                ) Case No. 18-6907
        v.                                      )
                                                ) Judge Charles P. Kocoras
 BLAYNE FLECK,                                  )
                                                )
                Defendant.                      )
                                                )


              ABBOTT LABORATORIES’ MOTION FOR A TEMPORARY
              RESTRAINING ORDER AND PRELIMINARY INJUNCTION

       Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiff Abbott Laboratories

(“Abbott”), by and through its attorneys, moves this Court to enter a Temporary Restraining Order

and a Preliminary Injunction containing the provisions set forth below. In support of its Motion,

Abbott incorporates its supporting Memorandum of Law, which sets forth in detail that:

       1.      Abbott respectfully moves for a temporary restraining order and preliminary

injunction restraining Defendant Blayne Fleck (“Fleck”) from: (a) violating the terms of his

Employee Agreement (the “Agreement”), including all restrictions and covenants set forth therein;

(b) working for a competitor, including Nevro Corp., and/or in competition with Abbott, in

accordance with the terms of the Agreement; and (c) using or disclosing Abbott’s confidential and

proprietary information. Abbott also requests that Fleck immediately return all Abbott property

in his possession.

       2.      Abbott is likely to succeed on the merits of its breach of contract claim against

Fleck for violation of the non-competition and non-disclosure provisions of the Agreement, as well

as its Illinois Trade Secrets Act and Defend Trade Secrets Act of 2016 claims for misappropriation
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or threatened misappropriation of Abbott’s trade secrets. Abbott has no adequate remedy at law,

and Abbott will suffer immediate and irreparable harm absent a temporary restraining order and

preliminary and permanent injunctive relief.

       3.      The relief sought through this Motion will not cause undue hardship to Fleck and

will only require him to abide by his contractual, statutory and common law obligations. The

relative balance of the harms weighs in favor of granting the requested relief, and the entry of a

temporary restraining order and further injunctive relief will serve the public interest.

       WHEREFORE, for these and the reasons set out more fully in Abbott’s supporting

Memorandum of Law, Abbott prays that a temporary restraining order be entered in the form

accompanying this Motion, and that preliminary injunctive relief be granted thereafter.

Dated: October 15, 2018                                Respectfully submitted,


                                                       /s/ Ronald S. Safer
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